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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF FLORIDA
                                     PENSACOLA DIVISION

PRESIDENT DONALD J. TRUMP, 45th President
of the United States of America, in his
individual capacity,
                                                           Civil Action Number:
               Plaintiff,

       v.                                                  JURY TRIAL DEMANDED


SIMON & SCHUSTER, INC., a New York
corporation, ROBERT WOODWARD p.k.a.
BOB WOODWARD, an individual, and
PARAMOUNT GLOBAL, a Delaware
corporation f/k/a VIACOMCBS, INC., a
Delaware corporation, f/k/a Viacom Inc.,
successor by merger to CBSCorporation,
a Pennsylvania corporation f/k/a Westinghouse
Electric Corporation,

            Defendants.
___________________________________/

                                          COMPLAINT

       Plaintiff, President Donald J. Trump, 45th President of the United States of America

(“President Trump”), by and through his attorneys, GS2 Law PLLC, upon personal knowledge and

upon information and belief as to all other matters, files this Complaint against the Defendants,

Simon & Schuster, Inc. (“SSI”), Robert Woodward, professionally known as Bob Woodward

(“Woodward”), and Paramount Global, a Delaware corporation f/k/a VIACOMCBS, Inc., a

Delaware corporation, f/k/a Viacom Inc., successor by merger to CBSCorporation, a Pennsylvania

corporation f/k/a Westinghouse Electric Corporation (“Paramount”) (collectively, “Defendants”)

and further alleges as follows:



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                                        Nature of Action

       “The media today probably does not dig deeply enough or spend sufficient time on

stories. The best way to ensure that sources will be open and honest is to treat them fairly.” This

is an excerpt from a response provided by journalist Bob Woodward posted in a Questions and

Answers section on his website, bobwoodward.com. When it came to treating President Trump

fairly, Mr. Woodward talked the talk, but he failed to walk the walk.

       This case centers on Mr. Woodward’s systematic usurpation, manipulation, and

exploitation of audio of President Trump gathered in connection with a series of interviews

conducted by Mr. Woodward. Said audio was protected material, subject to various limitations

on use and distribution—as a matter of copyright, license, contract, basic principles of the

publishing industry, and core values of fairness and consent. In usurping, manipulating, and

exploiting such material, Mr. Woodward has acted in concert with (i) SSI, a major publishing

company which brings the work of many authors, including Woodward, to hundreds of countries

and territories, and (ii) SSI’s parent company, Paramount. Individually and collectively, these

entities have systematically, blatantly, and unlawfully usurped President Trump’s copyright

interests, his contractual rights, and the rights he holds as an interviewee,1 through the




1
  The Defendants’ actions are, inter alia, in direct contravention of the law laid out in the
compendium of U.S. Copyright Office Practices, which sets forth a presumption that “the
interviewer and the interviewee own the copyright in their respective questions and responses
unless (i) the work is claimed as a joint work; (ii) the applicant provides a transfer statement
indicating that the interviewer or the interviewee transferred his or her rights to the copyright
claimant, or (iii) the applicant indicates that the interview was created or commissioned as a work
made for hire. See Compendium of U.S. Copyright Office Practices, 3d Ed. (2021).



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publication of an audiobook (and other works, as set forth below) predicated upon the subject

audio—solely for their own financial gain and without any accounting or recompense to him.

       Prior to commencing this litigation, President Trump and his counsel confronted

Defendants with their wrongdoing; however, they brazenly refused to recognize President

Trump’s copyright and contractual rights. Instead, they proffered various flawed and irrelevant

justifications which are unavailing and devoid of any legal merit. Rather than cease their

infringement, or even account to President Trump, the Defendants have doubled down; in an

avaricious attempt to reap more benefits from their ongoing violation of President Trump’s

rights, Defendants have converted the audio not only into an audiobook but also into derivative

works, including a CD, paperback, and e-book—again, all at the expense of President Trump and

without accounting to him.

       The Defendants’ ongoing concerted efforts to profit off the protected audio recordings

and the works they have distributed derived from the protected audio recordings have caused

President Trump to sustain substantial damages, necessitating the institution of this action.

Through this action, the President Trump seeks, inter alia, a declaration of his copyright interests

in the subject audiobook, CD, paperback and e-book, and recovery of the damages sustained.

                                               Parties

1.     Plaintiff, President Trump, is an individual who is a citizen and resident of Palm Beach

County, Florida, and is otherwise sui juris.

2.     Defendant, SSI is headquartered in New York, New York, and is a wholly-owned subsidiary

of Paramount.




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3.     Founded in 1924, SSI is the fourth-largest U.S. trade book publisher. It has over thirty (30)

U.S. imprints (a trade or brand name for a specific group of editors) across three (3) publishing

groups and publishes over 1,000 new titles annually in the U.S. In 2020, SSI earned over $760

million in U.S. publishing revenues.

4.     Defendant, Woodward is an individual who, upon information and belief, is a resident of

Washington, D.C, and is otherwise sui juris.

5.     Paramount is an international media and entertainment company, headquartered in New

York, New York. Paramount is also registered as a foreign profit corporation in the State of

Florida. The name and address of Paramount’s registered agent is The Prentice-Hall Corporation

System, Inc., 1201 Hays Street, Tallahassee, FL 32301.

6.     Paramount’s assets include SSI, and Paramount exerts direct control over the executive

leadership of SSI.

                                Nature of the Action and Relief Sought

7.     This action further seeks, inter alia, declaratory relief and attorney's fees as set forth

hereinafter, as well as any and all further relief in accordance with the appropriate statutes and

common law.

                                       Jurisdiction and Venue

8.     This action arises under the Declaratory Judgment Act, 28 U.S.C. § 2201 and §2202;

Florida Deceptive and Unfair Trade Practices Act; and unjust enrichment and breach of contract

under the Laws of the State of Florida. This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 and §1338(a) as this action arises under the U.S. Copyright Act of

1976, as amended, 17 U.S.C. § 101 et. seq.



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9.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) because

President Trump is a citizen of Florida while the Defendants are not, and the amount in

controversy exceeds $75,000.

10.    To the extent the Court does not have subject matter jurisdiction over any state law claim

pursuant to the above, this Court has supplemental or pendent jurisdiction over any such

remaining claims pursuant to 28 U.S.C. § 1367 because such claims are so closely related to

President Trump’s claim for declaratory relief brought pursuant to the Declaratory Judgment Act,

28 U.S.C. § 2201 and §2202, that they form part of the same case or controversy.

11.    SSI and Woodward are each engaged in interstate commerce and in activities

substantially affecting interstate commerce.

12.    SSI acquires publishing rights from authors and provide publishing services, including

editing, marketing, sales, and distribution of books, throughout the United States.

13.    Woodward is an investigative journalist who has written a number of books, including the

one that underlies the subject claims against the Defendants.

14.    This Court has personal jurisdiction over each of the Defendants. SSI has consented to

personal jurisdiction in this District, as it is a corporation that transacts business within this

District through, among other things, its acquisition of content from and provision of publishing

services to authors. Woodward has consented to personal jurisdiction in this District, as he

transacts business within the District through his investigative journalism and publication of

literary materials. Paramount has consented to personal jurisdiction in this District, as it transacts

business within the District through its wholly-owned division, SSI. This Court has personal

jurisdiction over each of the Defendants pursuant to Florida’s long-arm statute, as each of the



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Defendants transact business within the State of Florida, committed tortious acts and omissions

in Florida, and their tortious acts and omissions caused injury to President Trump in Florida.

15.    The Defendants have purposefully engaged in the business of publishing, distributing,

promoting, and selling various sources of literature throughout the United States, including

Florida, for which they have each derived significant income. The Defendants reasonably

expected that such literature, including the materials that are the subject of this lawsuit, would

be sold and distributed in Florida.

16.     Each of the Defendants conducted or has conducted significant revenue-producing

business, including interstate and intrastate commerce, in Florida. Each can reasonably expect

the sale and distribution of said literature to have consequences in Florida.

17.    The commercial activities of each of the Defendants in the State of Florida were not

isolated, and each has maintained sufficient contacts with Florida and/or transacted substantial

revenue-producing business in Florida to subject them to the jurisdiction of this Court pursuant

to Florida Statute §§ 48.181, 48.182, and 48.193.

18.    Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(2).

                                      GENERAL ALLEGATIONS

Publishing Background of the Parties

19.    SSI, controlled by Paramount, is the fourth-largest U.S. book publisher and is one of what

the industry calls the “Big Five” U.S. publishers. Publishers such as SSI pay significant advances to

authors whose books are expected to have commercial success.




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20.     SSI is also able to offer authors the extensive editorial, production, marketing, and

publicity support generally needed to produce a top-selling book, as well as the sales and

distribution networks necessary to place books into readers’ hands.

21.     The licenses obtained by SSI generally include the right to publish a book in various

formats (print, e-book, audiobook) within a particular geographic area. SSI competes for these

rights in a number of ways. In addition to paying authors advances and royalties, SSI provides

editorial, design, marketing, publicity and other services to authors. SSI also arranges for printing

and distribution of books to wholesalers and retailers.

22.     Woodward is an author who has published numerous books.

23.     Authors like Woodward are compensated in the form of royalties and advances. An

advance is an up-front payment of royalties that are expected to accrue from future sales of the

book.

24.     In the United States, books are sold through several retail sales channels, including online

retailers such as Amazon, national bookstore chains such as Barnes & Noble and Books-A-Million,

independent bookstores such as The Strand and Politics & Prose, big-box stores such as Target,

Walmart and Costco, and specialty retailers such as Anthropologie and Bass Pro Shops.

25.     Books also are sold to retailers and institutional buyers (including schools and libraries)

through wholesalers such as Ingram and Readerlink. Publishers set the cover or “list price” of a

book and sell the books to retailers at a standard discount from the list price (a little less than

half-off for most types of print books). SSI also may offer retailers marketing and other

promotional discounts in addition to the standard discount applied to the list price.




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26.    President Trump is personally and professional familiar with the book publishing industry,

having authored and co-authored many titles, including, but not limited to the following (most

of which have become best sellers):

       ● Trump: The Art of the Deal
       ● Why We Want You To Be Rich: Two Men One Message
       ● Trump: Think Like a Billionaire: Everything You Need to Know About Success, Real
         Estate, and Life
       ● Trump Never Give Up: How I Turned My Biggest Challenges into Success
       ● Great Again: How to Fix Our Crippled America
       ● Think Big: Make It Happen in Business and Life
       ● Midas Touch: Why Some Entrepreneurs Get Rich-And Why Most Don't
       ● Trump: How to Get Rich
       ● Trump: The Art of the Comeback
       ● Trump: The Best Real Estate Advice I Ever Received: 100 Top Experts Share Their
         Strategies
       ● Trump: Surviving at the Top
       ● Time to Get Tough: Make America Great Again!
       ● Trump: The Way to the Top: The Best Business Advice I Ever Received
       ● Trump: The Best Golf Advice I Ever Received
       ● Think BIG and Kick Ass in Business and Life CD
       ● Trump 101: The Way to Success
       ● Donald J. Trump - Think like a Champion

27.    President Trump has recently published and sold the highly successful book, “Our Journey

Together.”

28.    As a published author with a publishing contract for future books with Winning Team

Publishing, President Trump has the clear right and capability to publish his own words and his

own voice.




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The Defendants’ Publications regarding President Trump

29.    SSI, Paramount, and Woodward have had a great deal of commercial and financial success

with publications on the subject of President Trump.

30.    The Defendants collected large revenues generated from Fear: Trump in the Whitehouse2

(“Fear”), which was published September 10, 2019. Fear sold over 2 million copies in the first

three months of publication3, breaking the 94-year first-week sales record of SSI, and became the

#1 New York Times Bestseller and #1 International Bestseller.4

31.    Woodward then sought President Trump’s consent to be recorded for a series of

interviews with President Trump and repeatedly informed him that such interviews were for the

sole purpose of a book. That book, entitled Rage, was released on September 14, 2021.5

32.    Woodward conducted interviews with President Trump for Rage at the White House,

President Trump’s home of Mar-a-Lago in Palm Beach, Florida, and over the phone between

December 2019 and late July 2020, as follows:

       (a)   Thursday, December 5, 2019
       (b)   Friday, December 13, 2019
       (c)   Monday, December 30, 2019
       (d)   Monday, January 20, 2020
       (e)   Wednesday, January 22, 2020
       (f)   Friday, February 7, 2020
       (g)   Wednesday, February 19, 2020
       (h)   Thursday, March 19, 2020
       (i)   Saturday, March 28, 2020
       (j)   Sunday, April 5, 2020
       (k)   Monday, April 13, 2020

2
  ISBN13: 9781501175527
3
  https://www.bobwoodward.com/books/fo3ts5c6ljss8h25q3j2x92thehuey
4
  https://www.simonandschuster.com/books/Fear/Bob-Woodward/9781501175527
5
  ISBN13: 9781982131746


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         (l) Wednesday, May 6, 2020
         (m) Friday, May 22, 2020
         (n) Wednesday, June 3, 2020
         (o) Friday, June 19, 2020
         (p) Monday, June 22, 2020
         (q) Wednesday, July 8, 2020
         (r) Tuesday, July 21, 2020
         (s) Friday, August 14, 2020

(each, an “Interview,” and collectively, the “Interviews” or “Interview Sound Recordings”).

According to Woodward, he also interviewed President Trump “in 2016 when he was a

presidential candidate.”6

33.      In publishing Rage, Woodward clearly hoped to replicate the success of Fear, but he failed

to do so. Faced with the reality that Rage was a complete and total failure, Woodward decided

to exploit, usurp, and capitalize upon President Trump’s voice by releasing the Interview Sound

Recordings of their interviews with President Trump in the form of an audiobook.

34.      Specifically, SSI and Woodward conspired to, and did, collate and cobble together more

than eight hours of “raw” interviews with President Trump. Without President Trump’s

permission, on October 25, 2022, Defendants released the recordings as an audiobook dubbed

The Trump Tapes: Bob Woodward’s Twenty Interviews with President Donald Trump

(“Audiobook”).7

35.      The Defendants proceeded with such publication knowing that President Trump’s voice

is one of the most recognizable voices in the world and hearing his words from his mouth or as




6
    https://www.simonandschuster.com/p/the-trump-tapes
7
    ISBN13: 9781797124735



                                                                                                10
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directly articulated by him, is much more valuable and marketable than Woodward’s

interpretation of the interviews in Rage.

36.    Indeed, amid the publication of The Trump Tapes, Woodward began advertising President

Trump’s voice, stating that “[h]earing Trump speak is a completely different experience to

reading the transcripts or listening to snatches of interviews on television or the internet,”8 and

describing President Trump’s voice as “the most recognizable voice in the world, perhaps.”9

37.    Moreover, Paramount, SSI, and Woodward proceeded with such publication despite

knowing that President Trump had consented to being recorded only for the purposes of “the

book,” namely Rage, and never consented to release of any audio recording, inclusive of the

Interview Sound Recordings.

38.    SSI credits on the Audiobook on Fig 1 below admit President Trump’s rights in stating

“Read by Donald J. Trump and Bob Woodward.”




                                               Fig 1


8
  https://www.simonandschuster.com/books/The-Trump-Tapes/Bob-
Woodward/9781797124735
9
  https://www.youtube.com/watch?v=CzA2YX1y8E4


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39.    Online sites where the Audiobook can be purchased credit President Trump as author and

“Narrator,” recognizing that he has rights in the publication. See Fig 2.




                                               Fig. 2

40.    On November 11, 2022, Paramount, SSI, and Woodward released a CD version of the

Audiobook.10 On January 17, 2023, SSI and Woodward released a paperback11 and e-book12

version of the Audiobook (the CD, paperback, and e-book collectively are referred to herein as

“Derivative Works”).




10
   ISBN13: 9781797124728
11
   ISBN13: 9781668028148
12
   ISBN13: 9781668030981


                                                                                           12
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Woodward Sought and President Trump Granted a License of Limited Scope

41.    During the Interviews, President Trump repeatedly stated to Woodward, in the presence

of others, that he was agreeing to be recorded for the sole purpose of Woodward being able to

write a single book.

42.    President Trump made Woodward aware on multiple occasions, both on and off the

record, of the nature of the limited license to any recordings, therefore retaining for himself the

commercialization and all other rights to the narration. At no time did President Trump ever

relinquish such rights or license.

43.    Notably, the Interviews reflect that Woodward was prone to exercising his own discretion

in recording President Trump, despite the foregoing limitations instituted by President Trump

regarding recording. For instance, several minutes into Interview 8, Woodward says “I’m going

to turn on my recorder,” failing to tell President Trump that the recording had already begun.

44.    Interview 4 recorded at Mar-A-Lago on December 30, 2019 clearly manifests the

understanding between President Trump and Woodward that Woodward’s rights were limited

and that the parties intended that the copyright of any recordings would remain with President

Trump. At 3:34:37, Woodward confirms the recording is being taken for “the book,” and both

President Trump and Hogan Gidley confirm the scope and limitations of the license:

               Woodward: On the record for the book, unless you—
               Trump:          For the book only, right? Only for the book.
               Woodward: The book only, yeah, I’m not—
               Trump: For the book only, right? So there’s no—
               Gidley: Right. So there’s no stories coming out, okay.

45.    Similarly, at minute 2:25 of Interview 9, Woodward starts the interview acknowledging

the mutual understanding of the scope and limitation of the license:



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               Woodward: This again is for the book to come out before the Election.

46.    At no time did Woodward request from President Trump that he expand the subject

license or furnish a release to use the Interview Sound Recordings for an audiobook or any other

derivative work, as is customary in the book publishing and recording industries. President Trump

told Woodward numerous times that the Interviews were to be used by Woodward—and

Woodward only—for the sole purpose of accurately quoting President Trump for the “written

word,” i.e., Rage, and not for any other purpose, including providing, marketing, or selling the

Interviews to the public, press, or the media, in any way, shape, or form.

47.    President Trump never sought to create a work of joint authorship, and in the hours of

the Interviews, there is neither allusion to nor confirmation of such.

48.    President Trump never conveyed any copyright in his material, nor did he ever expand

the scope of the license given.

49.    Woodward appears to have had no intention to release an audiobook when initially

recording President Trump; such a decision arose much later, after the complete and total failure

of Rage. Woodward has admitted as such in stating that it was not in keeping with industry

standards to release such interview tapes; and yet, he “decided to take this unusual step of

releasing these recordings after relistening in full to all 20 interviews.”13

50.    If Woodward intended to create an oral history in which he could claim rights, then

according to best industry practices, he would have had President Trump as the participant sign

over his rights as part of the standard procedures of conducting the interview, after each



13
 https://www.simonandschuster.com/books/The-Trump-Tapes/Bob-
Woodward/9781797124735


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recording or at the end of the last interview. Woodward did not adhere to this standard and, as

such, relinquished any such rights.

51.    While Woodward and SSI have admitted that President Trump has a copyright interest in

the work by crediting him as a reader on the Audiobook and the CD, they have never accounted

to him in any manner whatsoever for the Audiobook and the Derivative Works.

SSI and Woodward Unlawfully Manipulate the Recordings

52.    Woodward writes in Rage that the third interview took place December 30, 2019, at Mar-

a-Lago: “We sat next to each other at a large table. Hogan Gidley, his deputy press secretary, sat

more than six feet away on the other side of the table, recording the interview on his mobile

phone.”

53.    A comparative analysis of this Interview in the Audiobook with Gidley’s recording of the

same reveals a substantial difference; the deviation reveals that Woodward and SSI took

extensive and unacceptable liberties with the words actually spoken by President Trump.

Specifically, portions of the Interview are selectively omitted in the Audiobook, as reflected in

the stricken-out language below:

       Trump: Ready? The Whistleblower Report…
       Woodward: You, you…
       Trump: Okay, before I do the transcript…
       Woodward: You know me well enough …
       Trump: I know, I know…
       Woodward: …to know that I’m neutral…
       Trump: …and I think, but I think you’re wrong. Okay, ready?
       Woodward: Okay.
       Trump: The Whistleblower Report—before you ever heard of a transcript…
       Woodward: Yeah, yeah.
       Trump: …it was given to Congress…
       Woodward: It doesn’t have any standard.
       Trump: It blew up…
       Woodward: Yeah.


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Trump: It blew up. We were getting, and all we had—it was going to be a disaster.
Woodward: But it’s not truth.
Trump: It was a false report written by a guy whose lawyer is a scumbag, okay? A real
scumbag. Look at the background of these people.
Woodward: Yeah.
Trump: The Whistleblower Report was a fraud. Okay, it blew up. It was going to be a
disaster. Schiff got up before the United States Congress, and he gave a false statement
on what I said.
 Woodward: I totally understand that, I understand that.
 Trump: If I didn’t put out, if I didn’t put out…
 Woodward: Okay.
 Trump: …this very innocent conversation I had with the President of Ukraine, who then
confirmed the conversation, saying there was no pressure put on a Whistleblower.
 Woodward: Okay, you’re willing to have this conversation, and you know me well
enough. I’m, I really want to understand in a comprehensive…
Trump: But you haven’t even read the Whistleblower…
 Woodward: …and let me share that…
 Trump: …but you haven’t read the Whistleblower Report.
 Woodward: No, no, no, but that’s, it’s not…
 Trump: You can’t have this conversation.
 Woodward: But it’s not evidence. It’s…
 Trump: Do you understand what I’m saying?
 Gidley: Of course…
 Woodward: Yeah, yeah, it’s not…
 Gidley: Of course…
 Trump: Now I know you’re…do you agree?
 Gidley: We were at UNGA, Mr. President…
 Trump: If I didn’t have…
 Gidley: …and that’s all I was getting, was questions about this Report…
 Trump: The Wh—
 Woodward: Okay, yeah.
 Gidley: all I was getting…
 Trump: Let me ask you…
 Gidley: …for days, all the deals.
 Trump: So, I have an innocent conversation—Do us, the United States, a favor, and
then I say, our Country. I don’t say…
 Woodward: I understand.
 Trump: …my Campaign. I say, our Country. And then I say the Attorney General of the
United States, okay? And, by the way, if anybody looked at that horrible tape with
Biden, you’d fully understand that, and he brought up the name Rudy Giuliani, by the
way, he did—the President.
 Woodward: Okay.
 Trump: I didn’t bring it up. Okay, ready? If I didn’t have that very accurate transcription,
and now it’s been proven to be accurate, because even the Lieutenant Colonel’s agreed


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       that it was accurate. Okay, so, you know, I don’t know, I think it would have been a
       disaster. You were getting killed.
        Gidley: Killed.
        Trump: The only reason I and, by the way, I got approval from Ukraine before I did it,
       because I was very, I said—Geez, you know, it’s a terrible thing to do. A terrible thing to
       do. So, we called Ukraine. We said—Do you mind if we release this conversation? And
       we got approval. Otherwise, I wouldn’t have been able to release it.
        Woodward: I’m gonna tell you something from my experience.
        Trump: Go ahead.
        Woodward: Because you’ve been very…
        Trump: You—nobody more experienced.
       Woodward: You’re willing to have this. As you know, in the Nixon case, I always said
       afterwards…
        Trump: …by the way, there’s a much different case.
        Woodward: Yes. I’m the first to say that…
        Trump: …I mean, you know, this is peanuts compared to that.
        Woodward: But as soon as the Watergate burglars were caught, if Richard Nixon had
       gone on television and said—You know, I’m the man at the top. I’m indirectly
       responsible for this. I am sorry. I apologized.
        Trump: Yeah.
        Woodward: It would have gone …
        Trump: Okay.
        Woodward: …away.
        Woodward: You don’t think so?
        Trump: I would never have done it here.
        Woodward: Yeah.
        Trump: Yeah, Nixon should have done that.
        Woodward: He should have done that.
        Trump: But I can’t, I shouldn’t have done that, because I did nothing wrong

54.    Far from being a “raw” and unedited recording, it seems that extreme license was taken

with the responses provided by President Trump in which he has a copyright interest, and the

answers were manipulated to alter President Trump’s language as well as to support the

particular narrative desired by Woodward, SSI, and Paramount.

55.    Paramount, SSI, and Woodward deviated from industry standard practices, did not obtain

the requisite releases, misappropriated President Trump’s copyright interests, manipulated the

recordings to benefit Woodward’s desired narrative while peddling the story that the recordings



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are “raw,” and deprived President Trump of the opportunity to publish or not to publish his

words, read in his voice.

56.    It seems that in the view of the Defendants, the only way to rectify the failure of Rage

was for experienced publishers and authors to throw their values to the wind and trample on

established rights for the sake of profit. Woodward was not telling anything new; it was who was

doing the telling that made the difference.

57.    Accordingly, President Trump has been harmed.

58.    Published sources indicate that the Fear sold more than two (2) million copies, which is

the amount of copies that the Audiotape can be estimated to sell. Based upon the purchase price

of the Audiotape, $24.99, the damages President Trump has sustained due to the actions of the

Defendants as set forth herein are estimated to be at least $49,980,000.00, exclusive of punitive

damages, attorney’s fees, and costs.

                                       COUNT I
               DECLARATORY RELIEF REGARDING OWNERSHIP OF COPYRIGHTS
                        (Pursuant to 28 U.S.C. §§ 2201, et seq.)
                           (SSI, WOODWARD, PARAMOUNT)

59.    President Trump repeats and reincorporates by reference the allegations in Paragraphs 1

through 58 as though fully set forth herein.

60.    This claim arises under the declaratory judgment provision of 28 U.S.C. § 2201 and § 2202

and under the Copyright Laws of the United States, 17 U.S.C. §§ 101 et. seq.

61.    As a result of the acts described in the preceding paragraphs, there exists a controversy

of sufficient immediacy and reality to warrant the issuance of declaratory relief.

62.    An actual and justifiable controversy exists sufficient for this Court to declare the rights

and remedies of the parties in that there is a dispute between President Trump and the


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Defendants concerning their respective rights and interests in the Interview Sound Recordings,

Audiobook, and Derivative Works at issue.

63.      A judicial declaration is necessary so that President Trump may ascertain his rights

regarding the rights and interests in the Interview Sound Recordings, Audiobook, and Derivative

Works.

64.      President Trump is entitled to a declaratory judgment that he owns the Interview Sound

Recordings, Audiobook, and Derivative Works in full and therefore is entitled to all revenues

arising from the exploitation of such works.

65.      In the alternative, President Trump is entitled to declaratory judgment that President

Trump owns the copyright in his responses in the Interview Sound Recordings, Audiobook, and

Derivative Works in accordance with, inter alia, the established practices of the U.S. Copyright

office (Compendium Third Edition) and therefore is entitled to the pro rata revenues arising from

the exploitation of such works.

66.      President Trump is further entitled to a declaratory judgment from this Court that the

sound recordings at issue were not created pursuant to a work-for-hire agreement.

WHEREFORE, the Plaintiff, President DONALD J. TRUMP respectfully requests that the Court grant

the following relief against the Defendants in this matter:

      (a) Enter declaratory judgment adjudging that President Trump has a full copyright interest

         in the Interview Sound Recordings, Audiobook, and Derivative Works at issue;

      (b) In the alternative, enter declaratory judgment adjudging that President Trump has a

         copyright interest in his responses in the Interview Sound Recordings, Audiobook, and

         Derivative Works at issue;



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      (c) Enter declaratory judgment adjudging that the sound recordings at issue were not created

         pursuant to a work-for-hire agreement;

      (d) Award of compensatory, punitive damages and disgorgement of Defendants of at

         minimum, $49,980,000.00;

      (e) Order the Defendants to pay to President Trump all fees, expenses, and costs associated

         with this action;

      (f) Order the Defendants to pay to President Trump all pre- and post-judgment interest on

         his damages; and

      (g) Award such other and further relief as the Court deems just, proper, and equitable.

                                            COUNT II
                                          ACCOUNTING
                                 (SSI, WOODWARD, PARAMOUNT)

67.       President Trump realleges and incorporates the allegations in Paragraphs 1 through 66

above as though fully set forth herein.

68.      Defendants have been and are engaged in the intentional and continued exploitation of

the Interview Sound Recordings, Audiobook, and Derivative Works at issue.

69.      Defendants unjustly have the sole and exclusive control over the books and records that

establish the applicable amounts of revenue on which royalties for the Interview Sound

Recordings, Audiobook, and Derivative Works at issue are to be calculated.

70.      Based upon Defendants’ position of exclusive control over such books and records, the

Defendants owe to President Trump a duty to account and pay all royalties in connection with

the Interview Sound Recordings, Audiobook, and Derivative Works at issue.




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71.     Upon information and belief, Defendants have not properly accounted to President

Trump for income earned on the Interview Sound Recordings, Audiobook, and Derivative Works

at issue.

72.     An accounting is necessary because Defendants have erroneously and unlawfully failed

to recognize President Trump’s rights and must account to him for all income derived from

exploitation of the Interview Sound Recordings, Audiobook, and Derivative Works at issue.

73.     An accounting is also necessary and appropriate under the circumstances since the

precise amount of money due to President Trump is unknown and cannot be ascertained without

an accounting.

74.     President Trump has no adequate remedy at law.

WHEREFORE, the Plaintiff, President DONALD J. TRUMP, respectfully requests that this Court

enter an order declaring that the actions of the Defendants, SIMON & SCHUSTER, INC., ROBERT

WOODWARD, and PARAMOUNT GLOBAL entitle President Trump to an accounting of all income

and profits derived from the Interview Sound Recordings, Audiobook, and Derivative Works, for

compensatory damages, prejudgment interest, post-judgment interest, attorney’s fees, costs of

the action, and such other relief as the Court deems appropriate.

                                          COUNT III
                                     UNJUST ENRICHMENT
                                       (WOODWARD)

75.     President Trump realleges and incorporates the allegations above in Paragraphs 1

through 58 as though fully set forth herein.

76.     This is an action for unjust enrichment against Woodward.




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77.    President Trump has conferred a benefit upon Woodward by engaging with him in the

Interviews and allowing recordation of the Interview Sound Recordings in connection with a

singular book, which benefit Woodward accepted.

78.    Woodward has exploited the Interview Sound Recordings to enrich himself, as he

converted the Interview Sound Recordings into an unauthorized Audiobook and Derivative

Works through which he has derived and received the benefit of revenues, fees, royalties, and

other consideration.

79.    Woodward has directly profited, and continues to profit, from such benefit without

accounting to and compensating President Trump, and without the authority or consent of the

President Trump.

80.    Woodward has failed to acknowledge or cite to President Trump’s contributions to the

Audiobook and all Derivative Works, instead harvesting all of the benefit for himself and his

publisher, SSI.

81.    It is inequitable and not in good conscience that the Woodward continue to reap such

benefits from President Trump without compensating President Trump for the value of monies

received in connection with the Audiobook and all Derivative Works.

82.    Woodward’s receipt of the benefits and privilege that President Trump has conferred

without paying the royalties and other charges owing to President Trump in return for those

benefits and privileges constitutes unjust enrichment and has damaged President Trump.

83.    It would be entirely inequitable for Woodward to retain any benefit without paying the

value of any monies, including but not limited to royalties and other fees, generated from the

Audiobook and all Derivative Works.



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WHEREFORE, the Plaintiff, President DONALD J. TRUMP, respectfully requests that this Court

enter a judgment against the Defendant, ROBERT WOODWARD, for damages, together with

costs, pre-judgment interest, attorney’s fees, and such other and further relief that this Court

deems just and proper.

                                           COUNT IV
                                       UNJUST ENRICHMENT
                                              (SSI)

84.      President Trump realleges and incorporates the allegations above in Paragraphs 1

through 58 as though fully set forth herein.

85.      This is an action for unjust enrichment against SSI.

86.      President Trump has conferred a benefit upon SSI through SSI’s acquisition of the

Interview Sound Recordings, which benefit SSI accepted.

87.      SSI has exploited the Interview Sound Recordings to enrich itself, as it converted and

facilitated the conversion of the Interview Sound Recordings into an unauthorized Audiobook

and Derivative Works through which SSI has derived and received the benefit of revenues, fees,

royalties, and other consideration.

88.      SSI has directly profited, and continues to profit, from such benefit without accounting to

and compensating President Trump, and without the authority or consent of the President

Trump.

89.      SSI has failed to acknowledge or cite to President Trump’s contributions to the Audiobook

and all Derivative Works, instead harvesting all of the benefit for itself, its parent company

Paramount, and its author Woodward.




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90.    It is inequitable and not in good conscience that SSI continue to reap such benefits from

President Trump without compensating President Trump for the value of monies received in

connection with the Audiobook and all Derivative Works.

91.    SSI’s receipt of the benefits and privilege that President Trump has conferred without

paying the royalties and other charges owing to President Trump in return for those benefits and

privileges constitutes unjust enrichment and has damaged President Trump.

92.    It would be entirely inequitable for SSI to retain any benefit without paying the value of

any monies, including but not limited to royalties and other fees, generated from the Audiobook

and all Derivative Works.

WHEREFORE, the Plaintiff, President DONALD J. TRUMP, respectfully requests that this Court

enter a judgment against the Defendant, SIMON & SCHUSTER, INC. for damages, together with

costs, pre-judgment interest, attorney’s fees, and such other and further relief that this Court

deems just and proper.

                                          COUNT V
                                     UNJUST ENRICHMENT
                                       (PARAMOUNT)

93.    President Trump realleges and incorporates the allegations above in Paragraphs 1

through 58 as though fully set forth herein.

94.    This is an action for unjust enrichment against Paramount.

95.    President Trump has conferred a benefit upon Paramount through SSI’s acquisition of the

Interview Sound Recordings, which benefit Paramount accepted.

96.    Paramount has exploited the Interview Sound Recordings to enrich itself, as it converted

and facilitated the conversion of the Interview Sound Recordings into an unauthorized



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Audiobook and Derivative Works through which Paramount has derived and received the benefit

of revenues, fees, royalties, and other consideration.

97.    Paramount has directly profited, and continues to profit, from such benefit without

accounting to and compensating President Trump, and without the authority or consent of the

President Trump.

98.    Paramount has failed to acknowledge or cite to President Trump’s contributions to the

Audiobook and all Derivative Works, instead harvesting all of the benefit for itself, its parent

company Paramount, and its author Woodward.

99.    It is inequitable and not in good conscience that Paramount continue to reap such

benefits from President Trump without compensating President Trump for the value of monies

received in connection with the Audiobook and all Derivative Works.

100.   Paramount’s receipt of the benefits and privilege that President Trump has conferred

without paying the royalties and other charges owing to President Trump in return for those

benefits and privileges constitutes unjust enrichment and has damaged President Trump.

101.   It would be entirely inequitable for Paramount to retain any benefit without paying the

value of any monies, including but not limited to royalties and other fees, generated from the

Audiobook and all Derivative Works.

WHEREFORE, the Plaintiff, President DONALD J. TRUMP, respectfully requests that this Court

enter a judgment against the Defendant, PARAMOUNT GOLOBAL for damages, together with

costs, pre-judgment interest, attorney’s fees, and such other and further relief that this Court

deems just and proper.




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                                         COUNT VI
                                    PROMISSORY ESTOPPEL
                                       (WOODWARD)

102.   President Trump realleges and incorporates the allegations above in Paragraphs 1

through 58 as though fully set forth herein.

103.   Woodward affirmatively represented to President Trump that the Interview Sound

Recordings would be utilized for the publication of a single written book. Woodward reasonably

expected that this promise would induce President Trump to consent to the Interviews.

104.   President Trump consented to the Interviews in reliance upon said promise.

105.   Enforcement of that promise is necessary to avoid injustice to President Trump.

WHEREFORE, the Plaintiff, President DONALD J. TRUMP, respectfully requests that this Court

enter a judgment against the Defendant, ROBERT WOODWARD, for damages, together with

costs, pre-judgment interest, attorney’s fees, and such other and further relief that this Court

deems just and proper.

                                     COUNT VII
         VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                           (SSI, WOODWARD, PARAMOUNT)

106.   President Trump realleges and incorporates the allegations above in Paragraphs 1

through 58 as though fully set forth herein.

107.   This is an action for actual damages suffered by President Trump as a result of the

Defendants’ violations of the “Florida Deceptive and Unfair Trade Practices Act” (“FDUTPA”). Fla.

Stat. § 501.201, et seq. 65.

108.   President Trump is a “consumer” as defined by FDUPTA.




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109.   Defendants at all material times have engaged in “trade or commerce” as defined in Fla.

Stat. § 501.203, of FDUTPA.

110.   FDUPTA “shall be construed liberally” to, in pertinent part, “protect the consuming public

and legitimate business enterprises from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

Fla. Stat. § 501.202(2).

111.   Fla. Stat. § 501.204(1) provides that “[u]nfair or deceptive acts or practices in the conduct

of any trade or commerce are hereby declared unlawful.”

112.   Defendants, at all times material hereto, provided goods or services and were engaged in

trade or commerce as defined by Fla. Stat. § 501.203(8).

113.   Defendants committed an unconscionable act or practice or an unfair or deceptive act in

the conduct of trade or commerce in violation of FDUPTA when they engaged in unlawful, unfair

and fraudulent business acts, practices, or competition, including but not limited to:

             (i)   Publication of the Interview Sound Recordings via the Audiobook and the

                   Derivative Works with knowledge of President’s Trump rights to ownership of

                   the same and the limitations of any license granted to publish portions of the

                   same;

            (ii)   Publication of the Interview Sound Recordings to capitalize and benefit from

                   President Trump’s voice to the detriment of President Trump’s ability to

                   publish his own voice given his position as author.




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            (iii)   Publication of the Interview Sound Recordings with alteration in the spoken

                    words and removal of context, in order to cast a poor light on President Trump

                    and to mislead and deceive other customers into viewing him in a poor light.

114.   Each of the foregoing violations of FDUPTA caused President Trump to suffer actual

damages, including but not limited to a complete and utter lack of payment of any monies,

including but not limited to royalties and other fees, generated from the Audiobook and all

Derivative Works. That amount is estimated to be at least $49,980,000.00 as explained above.

115.   President Trump is entitled to recover these actual damages from the Defendants, jointly

and severally, as set forth in Fla. Stat. § 501.211.

116.   President Trump has had to retain the services of undersigned counsel for this action and

is entitled to recover his reasonable attorneys’ fees and costs pursuant to Fla Stat. § 501.2105.

WHEREFORE, the Plaintiff, requests that this Honorable Court enter a judgment against the

Defendants as follows: (a) that the Court adjudge and decree that the conduct complained of

herein constitute deceptive and unfair trade practices in violation of FDUPTA; (b) that the Court

award against the Defendants, jointly and severally, damages, civil penalties, attorney’s fees,

prejudgment interest and costs to President Trump for the prosecution of this violation pursuant

to Fla. Stat. § 501.207(3); (c) enter an injunction enjoining future violations of the Act pursuant

to Section 501.211(1), Fla. Stat.; (d) award any such equitable or other relief pursuant to Fla. Stat.

§ 501.207(3); and (e) award such other and further relief as the Court deems just and proper.




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                                          COUNT VIII
                                     BREACH OF CONTRACT
                                        (WOODWARD)

117.     President Trump realleges and incorporates the allegations above in Paragraphs 1

through 58 as though fully set forth herein.

118.     President Trump granted Woodward a limited license that recordings of the Interviews

could be utilized for the purposes of writing a singular book.

119.     Woodward agreed to the terms of the limitations in such license.

120.     President Trump performed and gave the requested Interviews such that Woodward

could write a singular book.

121.     Woodward breached the terms of the license upon publication of the Audiobook.

122.     Woodward further breached the terms of the license upon publication of the Derivative

Works.

123.     Woodward has caused harm to President Trump arising from such breaches of the license.

WHEREFORE, the Plaintiff, President DONALD J. TRUMP, respectfully requests that this Court

enter a judgment against the Defendant, ROBERT WOODWARD, for damages, together with

costs, pre-judgment interest, attorney’s fees, and such other and further relief that this Court

deems just and proper.

                                       COUNT IX
                   BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
                                    (WOODWARD)

124.     President Trump realleges and incorporates the allegations above in Paragraphs 1

through 58 as though fully set forth herein.




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125.   All contracts in Florida, including the license, impose an implied covenant of good faith

and fair dealing upon the parties thereto. This covenant requires that the parties cooperate so

that each party may obtain full benefit under the license.

126.   Woodward breached this covenant in numerous and diverse ways, by, inter alia,

           a. Publication of the Interview Sound Recordings via the Audiobook and the

               Derivative Works with knowledge of President’s Trump rights to ownership of the

               same and the limitations of any license granted to publish portions of the same;

           b. Publication of the Interview Sound Recordings to capitalize and benefit from

               President Trump’s voice to the detriment of President Trump’s ability to publish

               his own voice given his position as author.

           c. Publication of the Interview Sound Recordings with alteration in the spoken words

               and removal of context, in order to cast a poor light on President Trump and to

               mislead and deceive other customers into viewing him in a poor light.

127.    As a direct and proximate result thereof, President Trump has been damaged.

WHEREFORE, the Plaintiff, President DONALD J. TRUMP, respectfully requests that this Court

enter a judgment against the Defendant, ROBERT WOODWARD, for damages, together with

costs, pre-judgment interest, attorney’s fees, and such other and further relief that this Court

deems just and proper.

                                          JURY DEMAND

President Trump hereby requests a trial by jury on all issues so triable.




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                                     PUNITIVE DAMAGES

President Trump reserves the right to amend any of these causes of action and seek punitive

damages if such is warranted after discovery.


Dated: January 30, 2023.
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